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          Exhibit 1: Declaration of Oscar Silva Perez




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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION



 STATE OF TEXAS, et al.,

             Plaintiffs,

    v.
                                          No.: 6:24-cv-0306
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,

             Defendants.




               DECLARATION OF OSCAR MARTIN SILVA PEREZ
                       (pursuant to 28 U.S.C. § 1746)




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                   DECLARATION OF OSCAR MARTIN SILVA PEREZ
I, Oscar Martin Silva Perez, upon my personal knowledge, hereby declare as follows:
   1. I was born in San Luis Potosí, Mexico in 2000. I am a national of Mexico.

   2. I currently live in Denton, Texas with my spouse, Natalie Ann Taylor. I have lived in

       Texas for more than 20 years.

   3. My parents told me that I was brought to the United States from Mexico in 2000 when I

       was an infant. I personally don’t have any memory of Mexico or of coming to the U.S.,

       as my earliest memory is from preschool in Garland, Texas. The U.S. is the only country I

       have ever called home.

   4. Since 2000, I have resided continuously in the United States. I have not been admitted or

       paroled into the U.S. When I was younger, I didn’t know exactly what it meant to be

       undocumented, I just knew that my parents were always afraid when we left the house.

       They warned me not to talk to strangers and to avoid the police because the police could

       take them away from me. When I got to high school, however, the challenges of being

       undocumented really hit me. At 16, I watched my classmates get summer jobs, get their

       driver’s licenses, and study abroad, and I realized I couldn’t do any of those things. It all

       made me feel extremely scared and anxious about what my future would look like.

   5. My older sister is a Deferred Action for Childhood Arrivals ("DACA”) recipient, so I

       thought I could apply for that protection too. However, in 2017, right when I was

       preparing to apply, the federal government rescinded the DACA program. Shortly

       thereafter, due to litigation challenging the termination, United States Citizenship and

       Immigration Services (“USCIS”) resumed accepting requests to renew existing grants of

       DACA, but new requests like mine were still not accepted. For more than two years, I

       monitored the court cases and political news updates closely to see when I would have

       my chance to apply. Finally, in late 2020, USCIS started accepting new DACA


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      applications again, so I submitted mine as quickly as I could, along with an application

      for work authorization. As I waited to find out if they would be granted, I started making

      plans to find a job after college and started dreaming about what protection from

      deportation would mean for me, for Natalie, and for our life together. Sadly, my hope was

      short-lived. Only six or seven months later, a federal court in Texas blocked new DACA

      applications yet again. Since then, my applications have remained pending with USCIS,

      and I don’t know when, if ever, they will get reviewed.

   6. I am grateful that, despite my lack of immigration status, I have still been able to pursue

      some of my dreams in the U.S. I recently obtained my undergraduate degree from the

      University of North Texas (“UNT”) in economics, with a minor in mathematics, making

      me the first person in my family to go to college. I am currently still a student at UNT,

      where I am working toward a master's in accounting. Through my studies, I have realized

      that I have a passion for accounting, and I hope to work as a Certified Public Accountant

      (“CPA”) in the future. Without work authorization, however, I don’t know when or how I

      will be able to get there. Without immigration status, I cannot even sit for the CPA exam

      in Texas. I have big dreams, and I am willing to work hard for them, but there are barriers

      in front of me that are out of my control.

   7. In 2016, I met my spouse, Natalie. We were 15 years old and freshmen in high school in

      Garland, Texas. We were good friends first for a couple years. Natalie came into my life

      right at the time that I was trying to fully grasp what it meant for me to be undocumented,

      so she has always known about my status. From the beginning, she was supportive,

      listened to me share about the challenges my status posed, and helped me feel more

      optimistic about my options.




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   8. Natalie and I started dating in 2018, during the summer before our senior year. On our

      first date, we went to Six Flags Over Texas and spent a warm July day spinning on a

      carousel of swings. We dated through our last year of high school, went to our senior

      prom together, and then we both chose to go to UNT for college. We moved to Denton

      together in 2019. In college, I was part of Delta Sigma Pi, a professional business

      fraternity, where I connected with a lot of business students who inspired my interest in

      accounting.

   9. On February 12, 2022, while we were still in college, Natalie and I got married at the

      courthouse in Garland, Texas. We only invited family and a few close friends to join us.

      We are planning to have a bigger wedding in May 2025, but we wanted to keep the first

      celebration intimate and keep the news private for a while.

   10. Natalie and I have now been together for six years and married for two and a half. We

      have been filing our taxes together since we’ve been married. Our lives have been

      intertwined since we were 17, and we continue to live life hand-in-hand. Natalie is my

      best friend and continues to be my main supporter and my rock. She has never faltered in

      her support and love for me despite the obstacles that we have faced due to my

      immigration status. In Denton, we have also built a strong community together. We have

      a lot of friends that we love spending time with, and we both have family close by that

      we visit. I often go and see my mom and my sisters, as I lived with them while I was in

      high school, and we are very close. I also spend time outside of school connecting with

      other undocumented students and helping them navigate the college process. At UNT, I

      helped start the Eagle Dreamers Program, an organization aimed at supporting and

      providing resources to undocumented students. As a first-generation college student, I

      often felt overwhelmed, lost, and afraid when I first started at UNT, and I had to figure




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      out a lot of things on my own. I formed the Eagle Dreamers Program so that others

      wouldn’t need to struggle like I did. I also try to participate in Get Out the Vote activities

      and other political activism whenever possible. The last couple years, I have been

      advocating for immigration reform and work authorization with the American Business

      Immigration Coalition (“ABIC”).

   11. Although we enjoy our lives in Denton, the constant uncertainty around the DACA

      program, and the lack of other avenues for me to obtain a work permit and relief from

      deportation, have made it difficult to plan for the future. I feel like we are living our lives

      in six-month increments, given how often the political and court landscape shifts and how

      those changes directly impact my options for finding a job or even remaining in the U.S.

      long term. This makes it impossible to plan our careers and our futures. Natalie, who

      graduated in 2022 and now works full-time as a ninth-grade biology teacher, is currently

      the sole breadwinner in our family. After school, on the weekends, and during the

      summer, she also works as a tutor and at a local water park to provide us with more

      financial support. She wants to go back to school to obtain a graduate degree in science

      and pursue a career in genetics or biochemistry, but since I do not have work

      authorization, it isn’t realistic for her to do that. We also want to have children, but we

      can’t plan for that either while my immigration status is so uncertain. Natalie and I try to

      remain optimistic, and we always keep our love for each other at the core of every day

      and every decision we make. Still, it is hard knowing that my status stands in the way of

      so many dreams of ours. Given how much Natalie does for the both of us now, I look

      forward to the day that I can give her all the support she deserves as well.

   12. There are also daily challenges that we experience because I am undocumented. Now that

      we are married, I have been able to access dental and vision care by joining Natalie’s




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      employer-based insurance plans. However, we can’t afford to add me to her medical plan,

      so I still don’t have medical insurance and cannot access doctor’s appointments or other

      healthcare. Previously, I could not get any kind of health insurance, so growing up I never

      had dental or doctor appointments. Additionally, in Texas, I can’t get a driver’s license, so

      Natalie has to drive us wherever we need to go. Both in Texas and when we travel around

      the U.S., we also have the constant fear that I could be detained and face deportation back

      to Mexico. We also can’t travel internationally together. Since I have no memories of

      Mexico, one day I want to have travel authorization to see the place my family and I are

      from. I have an older brother in Mexico whom I have never met, so I would love to meet

      him, as well as uncles and aunts who are there. I want to share this experience with

      Natalie so that she can also meet my family members and learn about my heritage with

      me.

   13. Based on a consultation with an immigration attorney, I know that the only barrier for me

      to adjust status is the fact that I entered without inspection in 2000 when I was brought

      here as a young child. Natalie filed an I-130, Petition for Alien Relative, for me that was

      approved in January 2024, and she will also support me in later applying for adjustment

      of status. However, before the new process for parole-in-place (“Keeping Families

      Together Parole”) was announced, the only way that I could satisfy the requirement for

      adjustment of status of being “inspected and admitted” or “inspected and paroled” was to

      leave the United States and seek an immigrant visa abroad through consular processing.

      To do that without triggering the ten-year bar on reentry in current U.S. immigration law,

      I would need to obtain an I-601A Provisional Unlawful Presence Waiver.

   14. Natalie and I were recently working together to prepare the documents and information

      needed to apply for an I-601A waiver, but we were worried about how burdensome and




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      risky the process would be. Even if, after the more than 40-month waiting period for my

      application to be processed, I am granted a waiver, there is a significant risk that when I

      leave the U.S. for consular processing, I will get stranded there and not be able to come

      back to Natalie and our community for months, if not years. Since the Consulate has the

      discretion to still deny my visa even with an approved I-601A, there is no guarantee that

      it will be issued. Further, if my visa is denied, I would then be subject to the ten-year

      reentry bar before I could be allowed back into the U.S. This kind of prolonged

      separation from my wife and life in the U.S. would be devastating.

   15. If Natalie and I were separated, either because I was deported or forced to leave the

      country to do consular processing, it would only exacerbate the already extreme

      uncertainty we have about our futures and cause us a lot of anxiety. We would be forced

      to completely put all our life plans, education, and community involvement on pause to

      think only about how to survive day-to-day without each other. I would also be ripped

      from the rest of my family in the U.S., including my parents and my siblings. I would

      miss seeing my sisters grow up and miss their big life milestones, like high school

      graduations and career accomplishments. This would break my heart.

   16. Right as we were preparing the I-601A waiver application and weighing these risks, the

      Biden Administration announced Keeping Families Together Parole. I first heard about

      the new process through ABIC, as we had for years been advocating with ABIC for work

      authorization for mixed status families. The morning that I found out, I was thrilled and

      immediately texted Natalie the news. She was at work, so we celebrated over text

      message, and later that day we watched President Biden and First Lady Dr. Jill Biden

      speak about the importance of the new process. We were truly overjoyed that the

      government was making Keeping Families Together Parole and its benefits a reality.




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   17. Upon hearing about the announcement, I immediately began preparing to be able to apply

      for Keeping Families Together Parole the moment applications are accepted. I looked up

      the requirements, reviewed the fact sheets released by the government multiple times, and

      began gathering the documents I need to show that I meet all the criteria. Since I was

      preparing to apply for the I-601A waiver, I already had a lot of the necessary documents

      on hand, including some school records, passports, our marriage license, and more. I had

      the documents and information ready so that I could submit them as soon as possible.

   18. Keeping Families Together Parole is the most ideal solution available for me to adjust

      status because it will allow both Natalie and me to fully pursue our dreams in the U.S.

      and build toward our future without the risk of being torn apart and without having to put

      school, work, and life on pause. On August 19, 2024, the day the new parole process

      opened for applications, I submitted Form I-131F, Application for Parole in Place for

      Certain Noncitizen Spouses and Stepchildren of U.S. Citizens, to USCIS in order to be

      considered for Keeping Families Together Parole. In addition to my biographical

      information, the form asked for details about my immigration history, any criminal

      history, and my marriage. I was also required to submit supporting documentation

      showing I meet the eligibility criteria for Keeping Families Together Parole. This

      documentation included proof that I have been continuously present in the United States

      for at least ten years and that I am legally married to my spouse, a U.S. citizen. To my

      knowledge, I meet the eligibility criteria for Keeping Families Together Parole. My

      application is now filed and pending.

   19. Receiving Keeping Families Together Parole would be life-changing for me and Natalie.

      It would open so many opportunities that we have been afraid to hope for or unable to

      work toward. It would allow me to become a CPA and find work doing what I love. It




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        would also allow me to continue to contribute to my community through my work on

        voting rights for U.S. citizens, immigration reform, and support for undocumented

        students.

    20. Keeping Families Together Parole would provide long-awaited relief to my wife and the

        rest of my family. Natalie would no longer have to worry about the threat of being

        separated from her husband at any moment, for an indefinite period of time. We would

        also finally be able to travel together to meet my family in Mexico and eventually explore

        the world. I would be able to see my sisters grow up, take care of my parents, and finally

        return the kind of love and support my family and friends have always provided to me.



 I declare under penalty of perjury and under the laws of the United States that the foregoing is
 true and correct.
                                                 Executed in Denton, Texas on August ____,
                                                                                      25 2024.




                                                      _____________________________________
                                                                          Oscar Martin Silva Perez




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